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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

JOHN WOODS, individually and on behalf                   §
of a class of all others similarly situated.             §
                                                         §
                           Plaintiffs,                   §
                                                         §
vs.                                                      §     CIVIL ACTION NO. 4:17-cv-00152
                                                         §
CV MCDOWELL, LLC, a Florida                              §
Corporation, d/b/a RX Pharmacy Services                  §
and Express RX Pharmacy Services,                        §
                                                         §
                           Defendants.                   §


       PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT
FOR DAMAGES AND INJUNCTIVE RELIEF PURSUANT TO 47 U.S.C. § 227, ET SEQ.
             (TELEPHONE CONSUMER PROTECTION ACT)



        Plaintiff John Woods (hereinafter referred to as “Plaintiff”), individually and on behalf of

all others similarly situated, makes the following allegations and claims against CV McDowell,

LLC doing business as RX Pharmacy Services and/or Express RX Pharmacy Services

(“Defendant”) upon personal knowledge, investigation of counsel, and on information and belief

as follows:

                                         I.   INTRODUCTION

        1.      Plaintiff brings this action against Defendant for violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227 et seq. (hereinafter referred to as the “TCPA”) by

Defendant and its present, former, and/or future direct and indirect parent companies,

subsidiaries, affiliates, agents, and/or related entities.

        2.      Defendant has violated, and continue to violate, the TCPA by contacting Plaintiff
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and others similarly situated on their telephones via an “automatic telephone dialing system,” as

defined by 47 U.S.C. § 227(a)(1), and/or using “an artificial or prerecorded voice” as described

in 47 U.S.C. §§ 227(b)(1)(A) and (B), without their prior express consent within the meaning of

the TCPA.

        3.       Plaintiff brings this action for damages, and other legal and equitable remedies,

resulting from Defendant’s conduct in violation of the TCPA.

                                II.     JURISDICTION AND VENUE

        4.       This case alleges violation of a federal statute, giving this Court federal question

jurisdiction pursuant to 28 U.S.C. § 1331.

        5.       On information and belief, venue is proper in this district pursuant to 47 U.S.C §

227(b)(3) and (5) and 28 U.S.C § 1391.

                                             III.    PARTIES

        6.       Plaintiff John Woods is an individual and resident of Harris County, Texas who

was subjected to a TCPA violation as alleged in this Complaint.

        7.       Upon information and belief, CV McDowell, LLC was doing business throughout

the Class Period as RX Pharmacy Services and/or Express RX Pharmacy Services and is a

Florida corporation with its principal place of business at 2740 E. Oakland Park Blvd., Suite 205,

Fort Lauderdale, FL 33306. Plaintiff is informed and believes that Defendant operated in every

state, including Texas, throughout the Class Period.

                    IV.     THE TELEPHONE CONSUMER PROTECTIONS
                              ACT OF 1991 (TCPA), 47 U.S.C. § 227

        8.       In 1991, Congress enacted the TCPA1 in response to a growing number of


        1
          Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394 (1991), codified at 47
U.S.C. § 227 (TCPA). The TCPA amended Title II of the Communications Act of 1934, 47 U.S.C. § 201 et seq.



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consumer complaints regarding certain telemarketing practices.

        9.       The TCPA regulates, among other things, the use of automated telephone

equipment, or “autodialers.” Specifically, the plain language of section 227 (b)(1)(A)(iii) and

(b)(1)(B) prohibits the use of autodialers to make any call to a wireless or residential number in

the absence of an emergency or the prior express consent of the called party.

        10.      According to findings by the FCC, the agency Congress vested with authority to

issue regulations implementing the TCPA, such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. In addition, the FCC also

recognized that wireless customers are charged for incoming calls whether they pay in advance

or after the minutes are used.2

        11.      Most recently, in 2012, the FCC revised its TCPA rules to require telemarketers

(1) to obtain prior express written consent from consumers before making a call to a person that

would otherwise be in violation of the TCPA, and (2) to require telemarketers to provide an

automated, interactive "opt-out" mechanism during each call so consumers may immediately tell

the telemarketer to stop calling.3

        12.      The FCC has also made clear statements regarding the TCPA's vicarious liability

standards as it relates to telemarketing. As early as 1995, the FCC stated that "[c]alls placed by

an agent of the telemarketer are treated as if the telemarketer itself placed the call."4 The FCC

has also clarified that vicarious liability is imposed under federal common law principles of

        2
           Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No.
02-278, Report and Order, 18 FCC Rcd 14014 (2003).
         3
           In re Joint Petition Filed by Dish Network, LLC, 28 FCC Red. 6574, 6574 (2013)("Dish Network
Ruling").
         4
           In re Rules and Regulations Implementing the TCPA of 1991, 10 FCC Red. 12391, 12397 ("1995
Ruling").



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agency for violations of either section 227(b) or section 227(c) that are committed by third-party

telemarketers.5

                                   V.       FACTUAL ALLEGATIONS

        13.        At all relevant times, Plaintiff was a “person” as defined by 47 U.S.C. § 153(39).

        14.        Defendant is and at all times mentioned herein was, an entity that meets the

definition of “person,” as defined by 47 U.S.C. § 153(39).

        15.        On information and belief, Plaintiff alleges that Defendant conducts business in

the State of Texas and within this judicial district.

        16.        During the relevant time period, Defendant called Plaintiff on his telephone while

he was located in the State of Texas in an attempt to solicit a variety of pharmaceutical

prescription products, including but not limited to, pain cream. Plaintiff received multiple such

calls and has, at the time of the filing of this complaint, received approximately nine (9) calls

from Defendant.

        17.        On information and belief, Defendant, or its agents, called Plaintiff on his

telephone via an automatic telephone dialing system (ATDS), as defined by 47 U.S.C. §

227(a)(1). This ATDS has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator.

        18.        Plaintiff did not provide express consent to receive automated calls by Defendant

on his telephone.6

        19.        Defendant did not make telephone calls to Plaintiff’s telephone “for emergency

purposes” as described in 47 U.S.C. § 227(b)(1)(A) and (B).


        5
            Dish Network Ruling, 18.
        6
            See FCC Declaratory Ruling, 23 F.C.C.R. 559, 564-65 (2008)(¶ 10).



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        20.           Under the TCPA and pursuant to the FCC’s January 2012 Declaratory Ruling, the

burden is on Defendant to demonstrate that Plaintiff provided express consent within the

meaning of the statute.7

                                 VI.     CLASS ACTION ALLEGATIONS

        21.           Plaintiff brings this action on behalf of himself and on behalf of all other persons

similarly situated (hereinafter referred to as “the Class”).

        22.           Plaintiff proposes the following Class definition, subject to amendment as

appropriate:

        All persons within the United States who received a non-emergency telephone call
        from Defendant through the use of an automatic telephone dialing system or an
        artificial or prerecorded voice and who did not provide prior express consent for
        such calls.

Collectively, all these persons will be referred to as “Class members.” Plaintiff represents, and is

a member of, the Class. Excluded from the Class are Defendant and any entities in which

Defendant has a controlling interest; Defendant’s agents and employees; any Judge and/or

Magistrate Judge to whom this action is assigned and any member of such Judges’ staffs and

immediate families; and claims for personal injury, wrongful death and/or emotional distress.

        23.           On information and belief, Plaintiff believes there are thousands of Class

members geographically dispersed throughout the United States. Therefore, individual joinder

of all members of the Class would be impracticable.

        24.           Plaintiff and all members of the Class have been harmed by the acts of Defendant

when it, either directly or through their agents, illegally contacted Plaintiff and Class members

via their telephones by using and autodialer and/or prerecorded voice message.


        7
            See id.



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        25.      This Class Action Complaint seeks injunctive relief and money damages.

        26.      The joinder of all Class members is impracticable due to the size and relatively

modest value of each individual claim. The disposition of the claims in a class action will

provide substantial benefit to the parties and the Court in avoiding a multiplicity of identical

suits. The Class can be identified easily through records maintained by Defendant.

        27.      There are well-defined, nearly identical, questions of law and fact affecting all

parties. The questions of law and fact involving the class claims predominate over questions that

may affect individual Class members. Those common questions of law and fact include, but are

not limited to, the following:

                 a.       Whether Defendant made non-emergency calls to Plaintiff’s and Class
                          members’ telephones using an automatic telephone dialing system and/or
                          an artificial or prerecorded voice;
                 b.        Whether Defendant can meet its burden of showing they obtained prior
                          express consent (i.e., consent that is clearly and unmistakably stated) to
                          make such calls;
                 c.       Whether Defendant’s conduct was knowing and/or willful;
                 d.       Whether Defendant is liable for damages, and the amount of such
                          damages; and
                 e.       Whether Defendant should be enjoined from engaging in such conduct in
                          the future.

        28.      As a person who received calls from Defendant using an automatic telephone

dialing system and/or an artificial or prerecorded voice, without prior express consent within the

meaning of the TCPA, Plaintiff asserts claims that are typical of each Class member. Plaintiff

will fairly and adequately represent and protect the interests of the Class, and has no interests

that are antagonistic to any member of the Class.

        29.       Plaintiff has retained counsel experienced in handling class action claims

involving violations of federal and state consumer and employee protection statutes.

        30.       A class action is the superior method for the fair and efficient adjudication of this



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controversy. Classwide relief is essential to compel Defendant to comply with the TCPA. The

interest of Class members in individually controlling the prosecution of separate claims against

Defendant is small because the statutory damages in an individual action for violation of the

TCPA is relatively small. Management of these claims is likely to present significantly fewer

difficulties than are presented in many class claims because the calls at issue are all automated

and the Class members, by definition, did not provide the prior express consent required under

the statute to authorize calls to their cellular telephones.

        31.       Defendant has acted on grounds generally applicable to the Class, thereby

making final injunctive relief and corresponding declaratory relief with respect to the Class as a

whole appropriate. Moreover, on information and belief, Plaintiff alleges that the TCPA

violations complained of herein are substantially likely to continue in the future if an injunction

is not entered.

                                   VII.    CAUSES OF ACTION

        COUNT I:          Knowing and/or Willful Violations of the Telephone Consumer
                          Protection Act, 47 U.S.C. § 227 ET SEQ.

        32.       Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully stated herein.

        33.       The foregoing acts and omissions of Defendant constitutes numerous and

multiple knowing and/or willful violations of the TCPA, including but not limited to each of the

above- cited provisions of 47 U.S.C. § 227 et seq.

        34.       As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227

et seq., Plaintiff and members of the Class are entitled to treble damages of up to $1,500.00 for

each and every call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(C).

        35.       Plaintiff and all Class members are also entitled to and do seek injunctive relief


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prohibiting such conduct violating the TCPA by Defendant in the future.

         36.     Plaintiff and Class members are also entitled to an award of attorneys’ fees and

costs.

         COUNT II:        Negligent Violations of the Telephone Consumer Protection Act, 47
                          U.S.C. § 227 ET SEQ.

         37.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

         38.     The foregoing acts and omissions of Defendant constitutes numerous and multiple

violations of the TCPA, including but not limited to each of the above cited provisions of 47

U.S.C. § 227 et seq.

         39.     As a result of Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff and

Class members are entitled to an award of $500.00 in statutory damages for each and every call

in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

         40.     Plaintiff and Class members are also entitled to and do seek injunctive relief

prohibiting Defendant’s violation of the TCPA in the future.

         41.     Plaintiff and Class members are also entitled to an award of attorneys’ fees and

costs.

         COUNT III: Violations of the Texas Telemarketing Disclosures and Privacy Act

         42.     Plaintiff incorporates by reference the foregoing paragraphs of this Complaint as

if fully set forth herein.

         43.       The Texas Telemarketing Disclosure and Privacy Act ("Texas No Call Act")

makes it unlawful for a telemarketer to make a telemarketing call to a telephone number that

has been published on the then-current Texas no call list for more than 60 days. Tex. Bus. &

Com. Code § 304.052. The Defendant has violated the Texas No Call Act by making


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multiple and repeated telephone calls to telephone numbers that were included on the then-

current Texas no call list for longer than 60 days.

          44.      The Texas No Call Act also prohibits telemarketers from (i) blocking the

identity of the telephone number from which the call is made to evade a device designed to

identify a telephone caller; (ii) interfering with or circumventing the capability of a caller

identification service or device to access or provide to the recipient of the telemarketing call

any information regarding the call that the service or device is capable of providing; or

(iii) failing to provide caller identification information in a manner that is accessible by a

caller identification service or device, if the telemarketer is capable of providing the

information in that manner. Tex. Bus. & Com. Code § 304.151. The Defendant’s failure to

transmit business name or accurate telephone number information violates this section of the

Texas No Call Act.

                                      VIII. JURY DEMAND

          45.    Plaintiffs demand a trial by jury.

                                           IX.        PRAYER

          WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff and all Class

members the following relief against Defendant:

          a.     Injunctive relief prohibiting such violations of the TCPA by Defendant in the

future;

          b.     As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §

227(b)(1), Plaintiff seeks for himself and each Class member treble damages, as provided by

statute, of up to $1,500.00 for each and every call that violated the TCPA;

          c.     As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for

himself and each Class member $500.00 in statutory damages for each and every call that

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violated the TCPA;

        d.       As a result of Defendant’s violations of the Texas No Call Act, Plaintiff seeks for

himself and each Class member $500.00 in statutory damages for each and every call that

violated the Act;

        e.       An award of attorneys’ fees and costs to counsel for Plaintiff and the Class;

        f.       An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing an appropriate Class, finding that Plaintiff is a proper

representative of the Class, and appointing the lawyers and law firms representing Plaintiff as

counsel for the Class; and

        g.       Such other relief as the Court deems just and proper.

Dated: August 22, 2017

Respectfully submitted,

CASTILLO SNYDER, P.C.                                   THE COOPER LAW FIRM, P.C.
                                                        Scott B. Cooper (pro hac vice pending)
By: /s/ Edward C. Snyder                                scott@cooper-firm.com
    Edward C. Snyder                                    Samantha A. Smith (pro hac vice pending)
    S. Dist. Federal I.D. No. 20133                     samantha@cooper-firm.com
    esnyder@casnlaw.com                                 4000 Barranca Parkway, Suite 250
    Jesse R. Castillo                                   Irvine, California 92604
    S. Dist. Federal I.D. No. 20726                     Telephone: (949) 724-9200
    jcastillo@casnlaw.com                               Facsimile: (949) 724-9255
    700 N. St. Mary’s Street, Suite 405
    San Antonio, Texas 78205
    (210) 630-4200
    (210) 630-4210 (Facsimile)

     Attorneys for Plaintiff John Woods,
     On Behalf of Himself and All Others Similarly
     Situated




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